                      Case 1:19-cv-01279-TJK Document 38 Filed 03/17/22 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Columbia
                                                         District of __________


        JASON LEOPOLD AND BUZZFEED INC.                        )
                             Plaintiff                         )
                                v.                             )      Case No. 1:19-cv-01279
           DEPARTMENT OF JUSTICE, et al.,                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Plaintiffs Jason Leopold and Buzzfeed Inc.                                                                    .


Date:          03/17/2022                                                                  /s/ Josh Loevy
                                                                                         Attorney’s signature


                                                                                    Josh Loevy, Bar No. IL0105
                                                                                     Printed name and bar number
                                                                                          Loevy & Loevy
                                                                                     311 N Aberdeen St, 3rd Fl
                                                                                        Chicago, IL 60607

                                                                                               Address

                                                                                         joshl@loevy.com
                                                                                            E-mail address

                                                                                          (312) 243-5900
                                                                                          Telephone number

                                                                                          (312) 243-5902
                                                                                             FAX number
